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Procedure 16, 18 U.S.C. § 3500, and other statutory and constitutional authorities.

      4.      Good Cause. There is good cause for entry of this protective order.

IT IS on this 22nd day of June 2023, ORDERED that:

      5.      Disclosure Material shall not be disclosed by the defendant or defense

counsel, including any successor counsel ("the defense") other than as expressly

permitted by this Order. Disclosure Material shall be used by the defense solely

for purposes of defending this action. The defense shall not disclose any Disclosure

Material to any third party except as expressly set forth below.

      6.      Disclosure Material may be disclosed by the defense only to:

              a.    Personnel for whose conduct counsel is responsible, i.e.,

personnel employed by or retained by counsel, as needed for purposes of defending

this action; and

              b.    Prospective witnesses for purposes of defending this action, but

counsel shall not permit such individuals to possess or retain Disclosure Materials

or duplicate versions.

      7.      The Government may authorize, in writing, disclosure of Disclosure

Material beyond that otherwise permitted by this Order without further order of

this Court.

      8.      This Order does not prevent the disclosure of any Disclosure Material

in any hearing or trial held in this action, or to any judge or magistrate judge, for

purposes of this action. But if a party wishes to submit Disclosure Material to a

court in connection with a motion or application for relief, that party shall do so



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IT IS SO ORDERED this 22nd day of June 2023:



                                                /s/ Edward S. Kiel
                                             HON. EDWARD S. KIEL
                                             United States Magistrate Judge



Consented to as to form and entry:




Isl Hyungjoo Han
DAVID E. MALAGOLD
HYUNGJOO HAN
Assistant U.S. Attorneys


Isl
      Jonathan Fne
                 . dman
JOOATHAN S. FRIEDMAN
Counsel for defendant




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